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                          IN THE UNITED STATES DISTRICT COURT
                           FOR THE EASTERN DISTRICT OF TEXAS
                                  TEXARKANA DIVISION

 DANCO, INC.,                                     §
                                                  §
                   Plaintiff,                     §
                                                  § Civil Action No. 5:16-cv-00073 JRG-CMC
 v.                                               §
                                                  §
 FLUIDMASTER, INC.,                               §
                                                  §
                   Defendant.                     §
                                                  §


                     DEFENDANT FLUIDMASTER, INC.’S
      ANSWER AND AFFIRMATIVE DEFENSES TO PLAINTIFF’S FIRST AMENDED
                              COMPLAINT

         Defendant Fluidmaster, Inc. (“Fluidmaster”), by its attorneys of record, responds to the

 allegations of the First Amended Complaint for Patent Infringement (“Complaint”) filed in this

 action by Plaintiff Danco, Inc. (“Danco” or “Plaintiff”) on November 30, 2016, as follows:

                                NATURE AND BASIS OF THE ACTION

         1.        Fluidmaster admits that the Complaint purports to state a claim for patent

 infringement under the laws of the United States, and in particular 35 U.S.C. §§ 1, et seq.

 Fluidmaster denies all of the remaining allegations in Paragraph 1, including any allegation that

 Fluidmaster has infringed any asserted patent.

         2.        Fluidmaster lacks knowledge or information to form a belief as to the truth of the

 allegations in Paragraph 2 and therefore denies the same.

         3.        Fluidmaster lacks knowledge or information to form a belief as to the truth of the

 allegations in Paragraph 3 and therefore denies the same.



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         4.        Fluidmaster admits that it manufactures toilet repair parts for the plumbing

 industry. Fluidmaster denies all of the remaining allegations in Paragraph 4.

         5.        Fluidmaster admits that it has manufactured and sold the DUO FLUSH product

 through retailers such as Home Depot and Lowe’s. Fluidmaster denies all of the remaining

 allegations in Paragraph 5.

         6.        Fluidmaster denies all of the allegations in Paragraph 6, except that Fluidmaster

 admits that, in the Complaint, Danco seeks a preliminary injunction, a permanent injunction, and

 monetary damages.

                                             THE PARTIES

         7.        Fluidmaster lacks knowledge or information to form a belief as to the truth of the

 allegations in Paragraph 7 and therefore denies the same.

         8.        Fluidmaster admits that it is a California corporation with a place of business

 located at 30800 Rancho Viejo Rd, San Juan Capistrano, CA 92675. Fluidmaster also admits

 that Stephen Dixon is a Registered Agent of Fluidmaster.             Fluidmaster denies all of the

 remaining allegations in Paragraph 8.

                                    JURISDICTION AND VENUE

         9.        Fluidmaster admits that the Complaint purports to state a claim for patent

 infringement under the laws of the United States, and in particular 35 U.S.C. §§ 1, et seq.

 Fluidmaster denies all of the remaining allegations in Paragraph 9, including any allegation that

 Fluidmaster has infringed any asserted patent.

         10.       At this time, Fluidmaster does not contest this Court’s subject matter jurisdiction

 over Danco’s claims. Fluidmaster denies the remaining allegations in Paragraph 10.




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           11.     Fluidmaster does not contest that the Court has personal jurisdiction over it.

 Fluidmaster denies the remaining allegations in Paragraph 11.

           12.     Fluidmaster denies the allegations in Paragraph 12. Fluidmaster incorporates by

 reference its Motion to Transfer Venue filed contemporaneously with this Answer.

                                     FACTUAL BACKGROUND

                                      Danco and Its Patent Rights

           13.     Fluidmaster lacks knowledge or information to form a belief as to the truth of the

 allegations in Paragraph 13 and therefore denies the same.

           14.     Fluidmaster lacks knowledge or information to form a belief as to the truth of the

 allegations in Paragraph 14 and therefore denies the same.

           15.     Fluidmaster lacks knowledge or information to form a belief as to the truth of the

 allegations in Paragraph 15 and therefore denies the same.

           16.     Fluidmaster lacks knowledge or information to form a belief as to the truth of the

 allegations in Paragraph 16 and therefore denies the same.

           17.     Fluidmaster admits that a copy of the ’620 Patent, entitled “Adaption of Flush

 Valve for Dual Flush Capacity,” appears to be attached to the Complaint as Exhibit A, and that

 the face of the patent indicates that it issued on February 3, 2015. Fluidmaster denies the

 remainder of the allegations in Paragraph 17, including that the ’620 Patent was duly and legally

 issued.

           18.     Fluidmaster admits that a copy of the ’687 Patent, entitled “Adaption of Flush

 Valve for Dual Flush Capacity,” appears to be attached to the Complaint as Exhibit B, and that

 the face of the patent indicates that it issued on November 15, 2015. Fluidmaster denies the




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 remainder of the allegations in Paragraph 18, including that the ’687 Patent was duly and legally

 issued.

           19.     Fluidmaster lacks knowledge or information to form a belief as to the truth of the

 allegations in Paragraph 19 and therefore denies the same.

                               Fluidmaster’s Alleged Infringing Products

           20.     Fluidmaster admits that it offers for sale and sells the DUO FLUSH product.

 Fluidmaster denies the remainder of the allegations in Paragraph 20.

           21.     Fluidmaster admits that the DUO FLUSH product has been available for sale

 through various retailers such as Home Depot and Lowe’s, and that archived copies of web pages

 from the Home Depot and Lowe’s web sites dated June 9, 2016, appear to be attached to the

 Complaint as Exhibit C. Fluidmaster denies the remainder of the allegations in Paragraph 21.

           22.     Fluidmaster admits that a copy of advertising materials for the DUO FLUSH

 product appears to be attached to the Complaint as Exhibit D, and that such materials include the

 quoted portion of Paragraph 22.         Fluidmaster denies the remainder of the allegations in

 Paragraph 22.

           23.     Fluidmaster denies the allegations in Paragraph 23.

           24.     Fluidmaster denies the allegations in Paragraph 24.

                   COUNT I – ALLEGED INFRINGEMENT OF THE ’620 PATENT

           25.     Fluidmaster incorporates by reference its responses to Paragraphs 1-24 as if fully

 stated herein.

           26.     Fluidmaster denies the allegations in Paragraph 26.

           27.     Fluidmaster admits that a copy of a claim chart appears to be attached to the

 Complaint as Exhibit E. Fluidmaster denies the remainder of the allegations in Paragraph 27, as


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 well as those contained in Exhibit E, including any allegation that Fluidmaster has infringed the

 ’620 Patent.

         28.       Fluidmaster denies the allegations in Paragraph 28.

         29.       Fluidmaster denies the allegations in Paragraph 29.

         30.       Fluidmaster denies the allegations in Paragraph 30.

         31.       Fluidmaster denies the allegations in Paragraph 31.

         32.       Fluidmaster denies the allegations in Paragraph 32.

         33.       Fluidmaster denies the allegations in Paragraph 33.

                   COUNT II – ALLEGED INFRINGEMENT OF THE ’687 PATENT

         34.       Fluidmaster incorporates by reference its responses to Paragraphs 1-33 as if fully

 stated herein.

         35.       Fluidmaster denies the allegations in Paragraph 35.

         36.       Fluidmaster admits that a copy of a claim chart appears to be attached to the

 Complaint as Exhibit F. Fluidmaster denies the remainder of the allegations in Paragraph 36, as

 well as those contained in Exhibit F, including any allegation that Fluidmaster has infringed the

 ‘687 Patent.

         37.       Fluidmaster denies the allegations in Paragraph 37.

         38.       Fluidmaster denies the allegations in Paragraph 38.

         39.       Fluidmaster denies the allegations in Paragraph 39.

         40.       Fluidmaster denies the allegations in Paragraph 40.

         41.       Fluidmaster denies the allegations in Paragraph 41.

         42.       Fluidmaster denies the allegations in Paragraph 42.




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                                ANSWER TO PRAYER FOR RELIEF

         Fluidmaster incorporates by reference its responses to Paragraphs 1-42 of the Complaint

 and denies that Danco is entitled to any relief requested in Paragraphs (A)-(I) of Danco’s Prayer

 for Relief.

                           ANSWER TO DEMAND FOR TRIAL BY JURY

         Fluidmaster admits that Danco has requested a trial by jury.

                                             DEFENSES

         Pursuant to Federal Rule of Civil Procedure 8(c), Fluidmaster asserts the following

 defenses to the causes of action asserted in the Complaint, undertaking to prove only those

 defenses on which it bears the burden of proof under the applicable law:

                                          FIRST DEFENSE
                                          (No Infringement)

         1.        Fluidmaster has not and does not infringe, willfully or otherwise, any valid and

 enforceable claim of the ’620 or ’687 Patents, either literally or under the doctrine of equivalents.

                                         SECOND DEFENSE
                                     (Invalidity, Unenforceability)

         2.        The ’620 and ’687 Patents, and each claim thereof, are invalid and/or

 unenforceable for failing to comply with one or more of the requirements of the Patent Act, 35

 U.S.C. § 1, et seq., including, but not limited to, 35 U.S.C. §§ 101, 102, 103, 112, and/or 282.

 For example, and without limitation, at least claim 1 of the ’620 Patent is anticipated by the Lab

 B228 Fluidmaster 550A01B dual flush valve (the “LAB device”), which was on sale and sold

 prior to the critical date of the ’620 Patent; and at least claim 1 of the ’687 Patent is obvious over

 the LAB device in view of U.S. Patent No. 5,864,893.




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         3.        The ’620 and ’687 Patents are unenforceable because Danco has misused these

 patents by attempting to enforce them despite knowing that they are invalid and/or not infringed.

                                         THIRD DEFENSE
                                    (Notice, Damages, and Costs)

        4.         Pursuant to 35 U.S.C. § 286, any recovery by Danco is limited to any alleged

 infringement that occurred no more than six years prior to the filing of its Complaint against

 Fluidmaster.

        5.         To the extent Danco failed to comply with the notice provisions of 35 U.S.C. §

 287, Danco may not recover damages for alleged infringement of the ’620 and ’687 Patents

 committed prior to the filing of its Complaint against Fluidmaster.

        6.         Danco is barred from recovering costs in connection with this action under 35

 U.S.C. § 288.

                                        FOURTH DEFENSE
                                      (Not an Exceptional Case)

         7.        Danco cannot prove that this is an exceptional case justifying an award of

 attorney fees against Fluidmaster pursuant to 35 U.S.C. § 285.

                                          FIFTH DEFENSE
                                        (No Injunctive Relief)

         8.        Danco is not entitled to injunctive relief because, among other reasons, any

 alleged injury to Danco is not immediate or irreparable, and Danco has an adequate remedy at

 law.

 Dated: December 14, 2016                                    Respectfully submitted,

                                                             GREENBERG TRAURIG, LLP

                                                             __/s/ Joshua L. Raskin
                                                             Joshua L. Raskin
                                                             raskinj@gtlaw.com

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                                               FLUIDMASTER, INC.




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                                 CERTIFICATE OF SERVICE

         I hereby certify that all counsel of record who are deemed to have consented to electronic
 service are being served with a copy of this document via the Court’s CM/ECF system per Local
 Rule CV-5(a) on this 14th day of December, 2016. Any other counsel of record will be served by
 facsimile transmission and/or electronic mail.


                                                                    /s/ Joshua L. Raskin
                                                                      Joshua L. Raskin




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